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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

DENNIS WILLARD,
                                                   Case No. 17-14202
             Plaintiff,
                                                   SENIOR U.S. DISTRICT JUDGE
v.                                                 ARTHUR J. TARNOW

HUNTINGTON FORD, INC.,                             U.S. MAGISTRATE JUDGE
                                                   ELIZABETH A. STAFFORD
             Defendant.
                                       /


     ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT [16]

       Before the Court is Defendant Huntington Ford, Inc.’s Motion for Summary

Judgment [16] filed on November 15, 2018. Plaintiff Dennis Willard, through

counsel, filed a Response [18] on January 3, 2019. Defendant filed a Reply [20] on

January 16, 2019. On June 25, 2019, the Court held a hearing on the Motion.

       For the reasons stated on the record,

       IT IS ORDERED that Defendant’s Motion for Summary Judgment [16] is

GRANTED.

       SO ORDERED.


                                       s/Arthur J. Tarnow
                                       Arthur J. Tarnow
Dated: June 26, 2019                   Senior United States District Judge



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